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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 John P. Fazzio, Esq.
 Fazzio Law Offices
 5 Marine View Plaza, Ste 218
 Hoboken, NJ 07030
 (201) 529-8024
 Attorney for the Debtor-in-Possession
 In re:                                                      Case No.: #19-23492-SLM
                                                             Chapter 7
          James A. Gilmartin,                                Judge: Hon. Stacey L. Meisel
                                                             Hearing Date: 9/10/2019, 10:00am
                         Debtor-in-Possession.




                    DEBTORS’ MEMORANDUM OF LAW AND FACT
                                      IN OPPOSITION TO
                                MOTION TO LIFT THE STAY
                                      FILED BY SELECT
                                      PORTFOLIO, INC.

   1.       Debtor files this Memorandum of Law & Fact in opposition to the Motion to Lift the

            Stay filed by the Movant herein, Select Portfolio, Inc., by and through its counsel,

            Andrew M. Lubin, Esq., re the Real Property owned by the Debtor-in- Possession,
            at 131 Rock Road, Glen Rock, New Jersey 07452.

   2.       The protections afforded a Debtor-in-Possession by 11 U.S.C. §362 are among the

            most fundamental protections afforded by the Bankruptcy Code.

                           The automatic stay is one of the fundamental
                           debtor protections provided by the bankruptcy
                           laws. It gives the debtor a breathing spell from




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                      his creditors. It stops all collection efforts, all
                      harassment, and all foreclosure actions. it
                      permits the debtor to attempt a repayment or
                      reorganization plan, or simply to be relieved of
                      the financial pressures that drove him into
                      bankruptcy.
                      [Legislative History to Section 362, United
                      States Bankruptcy Code, at 11 U.S.C. §362 ]

                            Adequate Protection Payments
  3.   11 U.S.C. §361(1) provides that the Debtor can provide Adequate Protection to the
       secured creditor by way of making “a cash payment or periodic cash payments to such

       entity”. The Supreme Court of the United States, in the case United Sav. Ass'n v.

       Timbers of Inwood Forest , 484 U.S. 365, 108 S.Ct. 626 (1988) upheld the United

       States Second Circuit Court of Appeals’ holding that a Chapter 11 Debtor-in-

       Possession has no right to mortgage payments during a Chapter 11 case, provided that
       adequate protection has been offered, by wa y of payment of property tax and insurance

       payments, as the instant Debtor proposes.

  4.   In the underlying United States Circuit Court of Appeals case affirmed by the United

       States Supreme Court in its Timbers of Inwood holding, the Second Circuit had held
       that: “Section 361(3) does not require periodic postpetition interest payments to an

       undersecured creditor to compensate it for the delay of the reorganization proceeding

       during the pendency of the automatic stay.”     United Sav. Ass'n v. Timbers of Inwood

       Forest, Ltd. , 793 F.2d 1380, 1383 (1986). In that case, the Second Circuit held that

       the Debtor only need pay the monthly $7,956 escrow payment for taxes and insurance,
       not the $42,500 monthly mortgage payment otherwise due in that case.        Ibid. The

       United States Supreme Court affirmed, upholding the Second Circuit’s ruling that:

                      ". . . the interest in property" protected by Sec.
                      362(d)(1) does not include a secured party's
                      right to immediate foreclosure. . . . Moreover,

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                        the meaning of Sec. 362(d)(1)'s "interest in
                        property" phrase is clarified by the use of similar
                        terminology in Sec. 506(a), where it must be
                        interpreted to mean only the creditor's security
                        interest in the property without regard to his
                        right to immediate possession on default.
                        [United Sav. Ass'n v. Timbers of Inwood Forest ,
                        484 U.S. 365, 108 S.Ct. 626, at 627 (1988)
                        (emphasis added) ]

  5.   The U.S. Supreme Court accordingly held that a secured creditor’s right to protection
       does not include a creditor's right to immediate foreclosure, nor a right to, in effect,

       interest on the value of its collateral.

                        The language of other Code provisions that deal
                        with the rights of secured creditors, and the
                        substantive dispositions that those provisions
                        effect, establish that the "interest in property"
                        protected by Sec. 362(d)(1) does not include a
                        secured party's right to immediate
                        foreclosure. . . . Moreover, the meaning of Sec.
                        362(d)(1)'s "interest in property" phrase is
                        clarified by the use of similar terminology in
                        Sec. 506(a), where it must be interpreted to
                        mean only the creditor's security interest in the
                        property without regard to his right to
                        immediate possession on default.
                        [United Sav. Ass'n v. Timbers of Inwood Forest ,
                        484 U.S. 365, 108 S.Ct. 626, at 627 (1988)
                        (emphasis added) ]

                         Proposed Order for Adequate Protection

  6.   Section 362(d)(2) applies to motions for stay relief with respect to an act against

       property of the estate, such as a foreclosure action: Under this provision, the stay
       will be vacated if the debtor does not have equity in the property unless the debtor

       can show that a proposed or contemplated plan is not patently unconfirmable and

       has a realistic chance of being confirmed. John Hancock Mutual Life Insurance Co.

       v. Route 37 Business Park Associates, 987 F.2d 154, 157 (3rd Cir. 1993). Here the
       Debtor is in the process of finalizing a hard-money loan in the amount of 60% of
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       the appraised value of the property. Debtor is awaiting the appraisal to then received

       final figures for the hard money loan. Under the above referenced provision, Debtor

       is in the process of finalizing a proposal to satisfy the obligations owed to the
       Secured Creditor outside of the bankruptcy. Should these efforts fail, the Debtor

       will most likely apply for loss mitigation. Whether through a short pay scenario

       whereby the Debtor refinances through a hard money loan or through an affordable

       modification of the indebtedness – the Debtor’s plan is to retain the Property.

  7.   To the extent necessary, Debtor can make “adequate protection” payments in an
       amount to compensate the Secured Creditor for the costs of property taxes,

       insurance and other carrying costs. However, the Secured Creditor will not suffer

       prejudice or face a scenario of being undersecured, because there is sufficient equity

       in the Property to pay off the Secured Creditor’s lien in full. Moreover, in the event

       a short pay or modification is unsuccessful, the Debtor would voluntarily list the
       property for sale with a realtor and engage in an arm’s length market transaction to

       ensure the Secured Creditor is paid in full, rather than a “quick sale” auction through

       foreclosure/REO. Indeed, everyone is worse off if the property is disposed of on an

       expedited basis through foreclosure proceedings and a Sheriff’s Sale or Auction.

  8.   Accordingly, Debtor’s proposal to enter into a standard Consent Order for Adequate
       Protection, requiring the Debtor to pay Movant adequate protection by way of the

       regular monthly escrow payment for taxes and insurance, is in accord with United

       States Supreme Court caselaw, and as even the Movant acknowledges at paragraph 8

       of its Certification in Support of the instant Motion, an appropriate Adequate

       Protection Order to be entered by the Court, requiring payment by the Debtor of the
       monthly escrow sums due.




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  9.    Northern New Jersey real estate prices are projected to increase by increase by 3.00%

        in 2019, https://www.realtor.com/research/2019-national-housing-forecast/ as accessed

        on 8/22/2019. Hence, there is no reason to assume any “decrease in the value of

        [movant’s] interest in such property” per 11 U.S.C. §361.

                                        LBR 9013-3(a)
  10.   It is anticipated that the parties should likely be able to resolve this Motion by way of

        a Consent Order for Adequate Protection in the ordinary course, as entered into per

        further negotiations, in accord with LBR 9013-3(a).

                                          Conclusion
  11.   The Debtor-in-Possession respectfully submits that if the parties are unable to agree on
        a Consent Order per LBR 9013-3(e), then the instant Motion should be denied, based

        on the factual and legal arguments and caselaw set forth hereinabove.

                                                         Respectfully submitted,

                                                         Fazzio Law Offices
                                                          /s/ John P. Fazzio, Esq.
                                                         John P. Fazzio, Esq.
        Date: September 4, 2019                          Attorney for the Debtor-in-Possession




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